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          10     LLC
          11                         UNITED STATES DISTRICT COURT
          12                        CENTRAL DISTRICT OF CALIFORNIA
          13                                  WESTERN DIVISION
          14     SETH SHAPIRO,                         CASE NO. 2:19-CV-8972 (CBM)
          15                     Plaintiff,            DEFENDANT AT&T MOBILITY
                                                       LLC’S REPLY IN SUPPORT OF ITS
          16          v.                               MOTION TO DISMISS
          17     AT&T MOBILITY, LLC,                   Hearing:
                                                       Date:    February 18, 2020
          18                     Defendant.            Time:    10:00 a.m.
                                                       Place:   First Street Courthouse
          19                                                    Courtroom # 8B, 8th Floor
                                                                350 W. 1st Street
          20                                                    Los Angeles, CA 90012
                                                       Judge:   Hon. Consuelo B. Marshall
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            1                                           I. Introduction
            2          In his Opposition to AT&T Mobility LLC’s motion to dismiss, Seth Shapiro
            3    attempts to save his various claims by ignoring critical holes in his allegations,
            4    effectively altering applicable pleading standards. Most of his arguments require this
            5    Court to fill in his conclusory allegations with wild guesses. When Mr. Shapiro is not
            6    requiring this Court to make factual allegations for him, he ignores relevant case law or
            7    impermissibly attempts to alter his causes of action in his Opposition.
            8          Even more than his Complaint, Mr. Shapiro’s opposition overreaches in his
            9    attempt to blame AT&T for conduct that it did not control and harm that should be
          10     assigned to the intentional misconduct of third-party hackers. Mr. Shapiro’s Complaint
          11     should be dismissed in its entirety.
          12                                            II. Argument
          13     A.    Mr. Shapiro Does Not Adequately Plead Proximate Cause.
          14           1.     Mr. Shapiro Failed To Plead Critical Steps In The Supposed Theft Of
                              His Funds.
          15
                       AT&T’s argument is simple: where, as here, a Complaint jumps from (1) hackers
          16
                 obtaining control over a plaintiff’s phone number to (2) the withdrawal of millions of
          17
                 dollars from a cryptocurrency account, the plaintiff has not pled proximate cause.
          18
                 Nothing in Mr. Shapiro’s Opposition addresses this fundamental problem.1
          19
                       There is no dispute that SIM swapping refers to a scheme in which “third parties
          20
                 take control of a victim’s wireless phone number.” Compl. ¶ 22. Mr. Shapiro contends,
          21
                 however, that a SIM swap transfers “password reset capabilities,” and accuses AT&T of
          22
                 “feign[ing] ignorance” about those capabilities. Opp. at 3. But Mr. Shapiro cannot state
          23
                 a claim for relief by pleading that SIM swaps can, in some circumstances, lead to harm.
          24
          25     1
                     Mr. Shapiro asserts without any authority that proximate cause is not a requirement
                 for federal statutory claims. Opp. at 5 n.1. That is incorrect. Bank of Am. Corp. v. City
          26     of Miami, Fla., 137 S. Ct. 1296, 1305 (2017). Mr. Shapiro’s failure to plausibly plead
                 proximate cause is fatal to his FCA claim for damages. See Amarillo v. Dobson Cellular,
          27     58 F.3d 635 (5th Cir. 1995). Moreover, contrary to Mr. Shapiro’s assertion, AT&T
                 certainly does “dispute” Mr. Shapiro’s allegation that AT&T “violated the [FCA] and .
          28     . . is liable to Mr. Shapiro for damages available under the Act.” Opp. at 5 n.1. AT&T
                 simply focuses at the pleading state on the lack of proximate cause.
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            1    Instead, he must allege facts plausibly suggesting that the particular SIM swap about
            2    which he complains did in fact proximately cause the theft here. This distinction
            3    between what could happen and what did happen here is the fatal flaw in his Complaint.
            4          Accepting the Complaint’s allegations as true, hackers obtained control over Mr.
            5    Shapiro’s phone number and eventually obtained his funds. But what happened prior to
            6    and in between those two events? How did the hackers know where Mr. Shapiro had
            7    accounts? How did they know which (if any) cell phone was linked to those accounts?
            8    Did they know his account number, username, email address, or password? Did hackers
            9    need to answer any security questions? Did Mr. Shapiro save his password online in a
          10     location that could be hacked? What was the role of Authy, a two-factor authentication
          11     app? Most importantly, did any of his cryptocurrency accounts even use a SMS-based
          12     two-factor authentication? Rather than alleging this information—all of which is in Mr.
          13     Shapiro’s possession—Mr. Shapiro asserts that he pled “how hackers could use his
          14     phone number to find those funds—by accessing digital accounts (such as email).” Opp.
          15     at 5. But this conclusory assertion of what hackers “could” do with generic “digital
          16     accounts” simply repeats the fatal flaw identified above. Id.
          17           Mr. Shapiro also points to a “chat log” recounting hacker communications with
          18     an individual he labels an “AT&T employee.” Opp. at 4. The chat log does not reveal
          19     how the hackers identified Mr. Shapiro’s accounts, how they knew of his cell phone,
          20     whether they already had other information, or how the “authy code” discussed in the
          21     chat log was obtained. See Compl. Ex. B, Att. A, at 1–6. Mr. Shapiro’s request that this
          22     Court assume that the SIM swap must have led logically and foreseeably to the theft is
          23     unfounded. Indeed, it is this gap that led this Court in Terpin v. AT&T Mobility, LLC,
          24     399 F. Supp. 3d 1035 (C.D. Cal. 2019), to dismiss all damages claims for failure to plead
          25     proximate cause. Id. at 1044 (complaint left the Court “to speculate how having access
          26     to [plaintiff’s] phone number resulted in the theft of cryptocurrency”).2 Mr. Shapiro
          27
          28     2
                   In Terpin, the plaintiff has filed an amended complaint, the sufficiency of which is
                 currently before the Court on a motion to dismiss.
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            1    cites Terpin, but omits this holding.
            2          Mr. Shapiro also does not cite, and cannot distinguish, the directly on-point case
            3    law on which AT&T relied in its Motion, which holds that, where “several procedural
            4    steps” lie between the alleged negligence and damages, the “causal link” between the
            5    negligence and harm is “tenuous at best” and, as a result, proximate cause does not exist.
            6    California v. Sup. Ct., 150 Cal. App. 3d 848, 852–53 (1984); see also Modisette v. Apple,
            7    Inc., 30 Cal. App. 5th 136, 155 (2018); Antman v. Uber Techs., Inc., 2015 WL 6123054,
            8    at *11 (N.D. Cal. Oct. 19, 2015). This case law confirms the irrelevance of Mr. Shapiro’s
            9    observation that proximate cause is “[g]enerally” a “question of fact for the jury.” Opp.
          10     at 3. Proximate cause is a question of fact for the jury only where it is first adequately
          11     pled, and Mr. Shapiro simply has not adequately pled proximate cause.3
          12           2.     AT&T Cannot Be Held Liable For The Independent, Intervening
                              Acts Of Third Parties.
          13
                       California case law regarding the extent of tort liability for third-party criminal
          14
                 acts is extensive and fact-dependent. Compare Mot. at 7–8, with Opp. at 5–7.4 But Mr.
          15
                 Shapiro has not stated a claim under any standard accepted by California cases.
          16
                       As set forth above, Mr. Shapiro has not pled the chain of events that led from the
          17
                 alleged SIM swap to the alleged theft, and therefore the Court has no means by which
          18
                 to examine whether that chain of events was foreseeable. Mr. Shapiro’s assertion that
          19
                 “foreseeable intervening events do not absolve a defendant of tort liability,” Opp. at 5,
          20
                 is therefore unhelpful to him. Because the “intervening events” are not pled, there are
          21
          22
                 3
                   Mr. Shapiro accuses AT&T—twice—of “egregiously misquot[ing] the Complaint” by
          23     quoting the language of paragraph 120 of the Complaint. Opp. at 4–5 (citing Mot. at 5).
                 But AT&T directly quotes the FTC’s commonsense observation—quoted in the
          24     Complaint—that the “security of two-factor authentication schemes that use phones as
                 one of the factors relies on the assumption that someone who steals your password has
          25     not also stolen your phone number.” Compl. ¶ 120. Mr. Shapiro does not explain how
                 AT&T misquoted this sentence, which he used to explain two-factor authentication.
          26     4
                   Mr. Shapiro errs in dismissing as dicta this Court’s holding in O’Keefe v. Inca Floats,
          27     Inc., 1997 WL 703784, at *4 (N.D. Cal. Oct. 31, 1997), that “independent illegal acts of
                 third parties are deemed unforeseeable and therefore, the sole proximate cause of the
          28     injury which excludes negligence of another as a cause of injury.” See Opp. at 6 n.2.

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            1    no facts plausibly suggesting that those events are foreseeable—any fact question, like
            2    foreseeability, must be adequately pled before it can possibly go to the jury.5
            3    B.    Mr. Shapiro Cannot Defend His California Right To Privacy Claim.
            4          1.     Mr. Shapiro’s Complaint Does Not Plead Facts Plausibly Suggesting
                              AT&T Intentionally Disclosed Any Of His Information.
            5
                       As noted in AT&T’s motion, Mr. Shapiro’s Complaint is based exclusively on the
            6
                 theory that AT&T did not implement sufficient security protocols or adequately train its
            7
                 employees. These are negligence claims, not claims of intentional wrongdoing, and Mr.
            8
                 Shapiro describes them as such in his Opposition. Opp. at 13; Compl. ¶¶ 87–124. Mr.
            9
                 Shapiro appears to now concede that negligence is categorically outside the scope of the
          10
                 constitutional right of privacy. Id. at 9. He thus asserts that AT&T “employees” (who
          11
                 were not actually employees)6 violated company policy by performing a SIM swap, and
          12
                 that “[t]his was not mere negligence . . . it was intentional.” Id.
          13
                       Intent is not the theory of the Complaint, and Mr. Shapiro cannot remedy his
          14
                 failure to plead an invasion of privacy by simply asserting a “new theor[y]” of intentional
          15
                 misconduct in his Opposition. See Jackson Nat’l Life Ins. Co. v. Brown, 2012 WL
          16
                 12965709, at *5 (C.D. Cal. Dec. 27, 2012). Nor can Mr. Shapiro transform his
          17
                 negligence-based factual allegations into an allegation of intentional misconduct simply
          18
                 by labeling them “intentional.” That is precisely the type of “conclusory allegation” that
          19
                 is insufficient to state a claim under the Federal Rules of Civil Procedure. Ashcroft v.
          20
                 Iqbal, 556 U.S. 662, 686 (2009). Moreover, AT&T could not possibly have intentionally
          21
                 disclosed “passwords,” “social security numbers,” and other “confidential financial,
          22
                 business, and legal information,” because AT&T did not have any of that information
          23
          24     5
                   Terpin is not relevant on this point because there, unlike here, the plaintiff alleged that
          25     he reported a SIM swap to AT&T several months before his currency was stolen, putting
                 the defendant on notice. Terpin, 399 F. Supp. 3d at 1044. Here, Mr. Shapiro alleges
          26     that his currency was stolen on the first day he experienced an alleged SIM swap.
                 6
                   Mr. Shapiro’s assertion that AT&T has conceded these men are employees (Opp. at 9
          27     n.3) is incorrect. The Complaint’s allegation was that the government stated that AT&T
                 had “confirmed” the men were “contract employee[s],” Compl. n.11, a very different
          28     assertion (even if true). In any event, the employment status of the men is not the basis
                 for AT&T’s motion.
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            1    and is not alleged to be the entity that actually disclosed that information. Opp. at 10.
            2          2.     Mr. Shapiro Cannot Identify Any Specific Information Disclosed.
            3          Mr. Shapiro also fails to specifically allege what information AT&T disclosed.
            4    Mot. at 10–11. Mr. Shapiro argues that his allegation regarding CPNI is specific enough
            5    to sustain his claim. Opp. at 9–10. The Complaint defines CPNI as “information about
            6    the configuration, type, and use of his AT&T services, his personal information, his SIM
            7    card details, and his billing information.” Compl. ¶ 94. Mr. Shapiro does not explain
            8    why he would have a reasonable expectation of privacy in this vaguely described
            9    information. Taking these nebulous terms one-by-one, none are sufficiently specific.
          10     Mot. at 11. Numerous cases have dismissed similar allegations:
          11         Sim Card Details: Sunbelt Rentals, Inc v. Victor, 43 F. Supp. 3d 1026, 1035 (N.D.
          12           Cal. 2014) (dismissing claim alleging that the defendant accessed his “iPhone”
          13           and his “private electronic data and electronic communications”); Chevron Corp.
          14           v. Donziger, 2013 WL 4536808, at *10 (N.D. Cal. Aug. 22, 2013) (holding that
          15           the plaintiffs had “no privacy interest in the subscriber information, IP addresses,
          16           and IP logs associated with their email accounts”).
          17         Use of AT&T Services: United States v. Forrester, 512 F.3d 500, 510 (9th Cir.
          18           2008) (holding, in the higher Fourth Amendment context, that email and Internet
          19           users have no expectation of privacy in “the to/from addresses of their messages
          20           or the IP addresses of the websites they visit,” just like “telephone users have no
          21           expectation of privacy in the numbers they dial.”); In re Google Location History
          22           Litig., 2019 WL 6911951, at *10 (N.D. Cal. Dec. 19, 2019) (dismissing as non-
          23           specific a claim based on tracking of user’s location and use of its services).
          24           Second, Mr. Shapiro argues that hackers accessed “his and his family’s highly
          25     sensitive data, including” “passports” and “social security numbers.” Opp. at 10. The
          26     Complaint makes clear that AT&T did not disclose or have access to this information.
          27     Compl. ¶ 86. Moreover, later acts of third parties do not satisfy California’s invasion-
          28     of-privacy standards. Razuki v. Caliber Home Loans, Inc., 2018 WL 2761818, at *1

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            1    (S.D. Cal. June 8, 2018) (dismissing invasion of privacy claim where hackers later used
            2    disclosed information to “open credit cards”).
            3    C.    The Economic Loss Rule Bars Mr. Shapiro’s Negligence And Negligent
            4          Supervision Claims.
            5          1.     Better Reasoned Cases Apply The Economic Loss Rule To All
                              Contracts.
            6
                       As AT&T argued, numerous courts—including this one—have held that the
            7
                 special relationship exception to the economic loss rule does not apply to parties in
            8
                 contractual privity. Mot. at 12–15. Mr. Shapiro does not rebut AT&T’s reasoning that
            9
                 J’Aire addressed a plaintiff who was not in privity with the defendant, and its reasoning
          10
                 was specific to that situation. Nor does Mr. Shapiro address AT&T’s policy argument
          11
                 against broad exceptions to the economic loss rule. Mot. at 15. Instead, Mr. Shapiro
          12
                 appears to argue that the economic loss rule does not apply to contracts for services, and
          13
                 that the special relationship exception does apply to contracts for services.
          14
                       In fact, this Court has applied the economic loss rule—and refused to apply the
          15
                 special relationship exception—to claims stemming from contracts for services. Body
          16
                 Jewelz, Inc. v. Valley Forge Ins. Co., 241 F. Supp. 3d 1084, 1091–94 (C.D. Cal. 2017).
          17
                 And this Court and the California Supreme Court have rejected the case first inventing
          18
                 a distinction between contracts for goods and services. See Aas v. Sup. Ct., 24 Cal. 4th
          19
                 627, 643 (2000) (rejecting reasoning in N. Am. Chem. Co. v. Sup. Ct., 59 Cal. App. 4th
          20
                 764, 784 (1997)); Ladore v. Sony Comput. Entm’t Am., LLC, 75 F. Supp. 3d 1065, 1075
          21
                 (N.D. Cal. 2014) (following Aas).
          22
                       2.     The J’Aire Factors Do Not Apply Here.
          23
                       Mr. Shapiro also argues his claim satisfies the J’Aire factors. For the first factor—
          24
                 whether the contract was intended to affect the plaintiff—Mr. Shapiro argues that
          25
                 AT&T’s Privacy Policy, entered into by “tens of millions of subscribers” (Compl. ¶ 2),
          26
                 was intended to individually affect him. Opp. at 12–13. But if this type of connection
          27
                 were sufficient, the first factor would always be satisfied in cases with contracting
          28
                 parties. To have any meaning, this factor must require a plaintiff who is particularly
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            1    affected in a way that is distinguishable from others. See In re Sony Gaming Networks
            2    & Customer Data Sec. Breach Litig., 996 F. Supp. 2d 942, 972 (S.D. Cal. 2014) (citing
            3    Fieldstone Co. v. Briggs Plumbing Prod., Inc., 54 Cal. App. 4th 357, 368 (1997)).
            4          For the remaining J’Aire factors, AT&T rests on its initial brief. Mot. at 16–17.
            5    Most of these factors disfavor Mr. Shapiro due to his failure to plead proximate cause.
            6    D.    Mr. Shapiro Did Not Plead Essential Elements Of His CLRA Claim.
            7          1.     Mr. Shapiro Cannot Rest On An Inference of Reliance.
            8          AT&T argued that Mr. Shapiro did not plead reliance on AT&T’s Privacy
            9    Policy—a necessary element of his Consumer Legal Remedies Act (“CLRA”) claim—
          10     because (1) he never alleged that he saw, much less read, the Policy; (2) the Policy was
          11     issued 12 years after he became a customer; and (3) the Policy put him on notice that
          12     “no security measures are perfect.” Mot. at 18–20. Implicitly acknowledging that he
          13     did not plead reliance on the Policy, Mr. Shapiro argues that this Court should infer his
          14     reliance. Opp. at 15. Neither the case law nor the facts justifies an inference of reliance.
          15           Many cases reject an inference of reliance where the plaintiff did not see the
          16     underlying representation. For example, in Rojas-Lozano v. Google, Inc., the court
          17     rejected an “inference of reliance” because the plaintiff “failed to allege what she saw,
          18     what she believed as a result, how knowledge would impact her behavior, or facts that
          19     otherwise support a reasonable inference that an omitted fact was material.” 159 F.
          20     Supp. 3d 1101, 1114 (N.D. Cal. 2016). See also Figy v. Amy’s Kitchen, Inc., 2013 WL
          21     6169503, at *4 (N.D. Cal. Nov. 25, 2013) (inference of reliance requires the plaintiff to
          22     allege “at a minimum . . . that he saw the representation at issue”).
          23           Here, Mr. Shapiro did not allege—and does not argue—that he ever read, heard,
          24     or even saw AT&T’s Privacy Policy. This shortcoming prevents an inference of
          25     reliance. Moreover, he does not explain how he could possibly have relied on any
          26     general statements regarding security—whether in the Privacy Policy or in person—
          27     when the Privacy Policy was also clear that AT&T’s security would not be perfect, and
          28     third parties could still circumvent it. Mot. at 19. Instead, Mr. Shapiro summarily asserts

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            1    that regardless of the Privacy Policy, AT&T employees “assured him that his SIM card
            2    would not be swapped again without his authorization.” Compl. ¶ 36; Opp. at 15–16.
            3    This shift in focus highlights that Mr. Shapiro cannot plausibly allege reliance on the
            4    AT&T “Privacy Policy” on which his Complaint focuses. Compl. ¶¶ 149–71. But
            5    alleged reliance on oral representations fares no better in overcoming explicit disclosures
            6    in the Privacy Policy that “no security measures are perfect” and AT&T “cannot
            7    guarantee that your Personal Information will never be disclosed in a manner
            8    inconsistent with this Policy (for example, as the result of unauthorized acts by third
            9    parties that violate the law or this Policy).” Compl., Ex. C at 26. Mr. Shapiro fails even
          10     to grapple with those disclosures, much less explain how he can have plausibly alleged
          11     reliance in light of them.
          12           2.     Mr. Shapiro Did Not Plead That He Provided Notice.
          13           Mr. Shapiro alleges that he provided requisite notice under the CLRA, but his
          14     Complaint makes no such allegation.         Mr. Shapiro cannot add new facts in his
          15     Opposition. Schneider v. Cal. Dept. Corr., 151 F.3d 1194, 1197 n.1 (9th Cir. 1998)
          16     (“[A] court may not look beyond the complaint to a plaintiff’s moving papers, such as a
          17     memorandum in opposition to a defendant’s motion to dismiss.” (emphasis in original)).
          18     E.    Mr. Shapiro’s Losses Do Not Qualify Under The CFAA.
          19           Mr. Shapiro argues that he adequately alleged loss because he alleged that (1) he
          20     spent over $5,000 investigating who hacked his accounts and (2) he lost roughly $1.8
          21     million from his cryptocurrency accounts. Opp. at 18–19. Both arguments are flawed.
          22           First, Mr. Shapiro tries to save his CFAA claim by comparing his loss allegations
          23     to those in NovelPoster v. Javitch Canfield Group, 140 F. Supp. 3d 954, 963–64 (N.D.
          24     Cal. 2014). In NovelPoster, the plaintiffs alleged “the approximate number of hours that
          25     [the plaintiffs] spent on their restorative efforts, and the approximate value of their
          26     services,” allowing the court to conclude that they suffered losses over $5,000. Id. at
          27     963. Mr. Shapiro, on the other hand, alleged only that he “spent in excess of $5,000
          28     investigating” the SIM swap. Compl. ¶ 202. NovelPoster demonstrates precisely what

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            1    Mr. Shapiro was required to (but did not) allege.
            2          Second, Mr. Shapiro argues that his cryptocurrency loss qualifies under the
            3    CFAA. Countless courts—including California courts—reject this argument. The only
            4    losses that qualify under the CFAA are those that “arise from the investigation or repair
            5    of a damaged computer system or data, or from an interruption of service.” NovelPoster,
            6    140 F. Supp. 3d at 963–64. Mere loss of something valuable, like cryptocurrency, is not
            7    enough—the interruption of service must directly cause the loss. See In re: Lenovo
            8    Adware Litig., 2016 WL 6277245, at *6 (N.D. Cal. Oct. 27, 2016); AtPac, Inc. v.
            9    Aptitude Sols., Inc., 730 F. Supp. 2d 1174, 1185 (E.D. Cal. 2010).7
          10           Here, Mr. Shapiro’s alleged loss of cryptocurrency did not stem from the inability
          11     to access his SIM card or any other interruption of service, but from hackers later
          12     obtaining something of value after they interrupted his cell phone service. Compl. ¶¶
          13     24, 37. Accordingly, Mr. Shapiro’s CFAA claim must be dismissed.
          14     F.    Mr. Shapiro’s Allegations Do Not Support Punitive Damages.
          15           Finally, Mr. Shapiro has no colorable defense of his claim for punitive damages.
          16           With respect to AT&T’s argument that Mr. Shapiro must plead that an officer,
          17     director, or managing agent had advanced knowledge of the unfit employee or
          18     authorized the employee’s conduct, Mr. Shapiro argues that “AT&T’s Vice President”
          19     was aware of SIM swaps and that employees could act in concert with hackers to effect
          20     SIM swaps. Opp. at 20. But an awareness by AT&T that SIM swaps were possible and
          21     needed to be confronted is not the same thing as an awareness, much less authorization
          22     or ratification, of either the unfit person or the alleged SIM swap and resulting loss here.
          23           Punitive damages are only available where a managing agent of the corporation
          24     accepts or ratifies an employee’s misconduct. Mot. at 23–24. To ratify an employee’s
          25     conduct, a managing agent must know that the employee was “engaged in harmful
          26
          27     7
                   Mr. Shapiro cites Tyan, Inc. v. Garcia, 2017 WL 1658811, at *14 (C.D. Cal. May 2,
                 2017), to support a broader construction of loss. But that case contains no discussion of
          28     relevant case law, and indeed it is not even clear if the defendant argued that CFAA
                 losses were limited under the law.
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            1    activities towards plaintiffs.” Coll. Hosp. Inc. v. Sup. Ct., 8 Cal. 4th 704, 725–26 (1994);
            2    see also Cruz v. HomeBase, 83 Cal. App. 4th 160, 168 (2000) (requiring “actual
            3    knowledge that [employees] had acted maliciously.”). Here, nothing in the Complaint
            4    shows that any officer, director, or managing agent knew of Robert Jack or Jarratt White
            5    or authorized or ratified their alleged actions. In fact, Mr. Shapiro admits that the alleged
            6    SIM swap was “unauthorized” and against company policy. Compl. ¶¶ 33–34.
            7          Finally, Mr. Shapiro attempts to circumvent the clear rule that “[m]ere negligence,
            8    even gross negligence, . . . [cannot] justify such an award [for punitive damages].” Toole
            9    v. Richardson–Merrell Inc., 251 Cal. App. 2d 689 (1967). He argues that Simplicity Int’l
          10     v. Genlabs Corp., 2010 WL 11515296, at *2 (C.D. Cal. Apr. 21, 2010), holds that a
          11     claim formally “sounding in negligence” can still lead to punitive damages. The rest of
          12     that quote, however, makes clear that the plaintiff must also allege facts showing that
          13     the defendant had the “intent to vex, annoy, and injure” or acted in such reckless
          14     disregard that its conduct can “be characterized as wanton or willful.” Id. Mr. Shapiro’s
          15     allegations do not meet this standard—he offers only the conclusory assertion that
          16     AT&T acted with malice, fraud, or oppression based on “the allegations of the
          17     Complaint as a whole.” Opp. at 21. But he does not point to a single section of his
          18     Complaint showing how AT&T purportedly acted with the required mental state.
          19     Instead, he points to distinguishable cases that did contain adequate allegations, and
          20     simply asserts that his claims are similarly sufficient, apparently based on nothing more
          21     than an alleged awareness by AT&T of SIM swaps. Opp. at 20–21. But Mr. Shapiro
          22     cannot rely on the allegation that AT&T is aware of SIM swaps generally to meet his
          23     burden of actually pleading that AT&T acted with the mental state required for punitive
          24     damages. His conclusory allegations as to mental state are not sufficient under Twombly.
          25     Perez v. Auto Tech. Co., 2014 WL 12588644, at *7 (C.D. Cal. July 14, 2014).
          26                                          III. Conclusion
          27           Mr. Shapiro has failed to plead facts plausibly suggesting that he is entitled to
          28     relief. Accordingly, his Complaint should be dismissed with prejudice.

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            1    Dated: January 22, 2020
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